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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,           )
                                    )               Case No. CR-06-250-S-BLW
          Plaintiff,                )
                                    )               ORDER ADOPTING
     v.                             )               REPORT AND
                                    )               RECOMMENDATION
RAMON ARELLANO-JIMINEZ,             )
                                    )
          Defendant.                )
___________________________________)

      The Court has before it a Report and Recommendation filed by the United

States Magistrate Judge. (Docket No. 55). On September 25, 2007, Defendant

Ramon Arellano-Jiminez appeared before the Magistrate Judge to enter a change of

plea pursuant to a written plea agreement. The Magistrate Judge conducted the

plea hearing and concluded there is a factual basis for Defendant’s plea of guilty to

Counts One and Two of the Indictment (Docket No. 1), and that it was entered

voluntarily and with full knowledge of the consequences. No objections to the

Report and Recommendation have been filed.

      The Court now has reviewed the record, and finds that the requirements of

Rule 11 have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir.

2003). Specifically, the Court finds that the Magistrate Judge adhered to the

requirements of Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was
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voluntary and not the result of force or threats or promises apart from the plea

agreement; and that a factual basis for the plea exists. See id. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Docket No. 55) shall be, and the same is hereby, ADOPTED as

the decision of the District Court and incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Defendant’s plea of guilty to Counts

One and Two of the Indictment (Docket No. 1), shall be, and the same is hereby,

ACCEPTED by the Court as a knowing and voluntary plea supported by an

independent basis in fact containing each of the essential elements of the offense.

      IT IS FURTHER ORDERED that Defendant Ramon Arellano-Jimenez is

found to be GUILTY as to the crimes charged in Counts One and Two of the

Indictment (Docket No. 1).

                                       DATED: October 31, 2007



                                       B. LYNN WINMILL
                                       Chief Judge
                                       United States District Court




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